                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

 B.P., H.A., S.H., individually, and                  )
 on behalf of all others similarly situated,          )
                                                      )
                 Plaintiffs,                          )
                                                      )
 v.                                                   )      No. 2:23-CV-71-TRM-JEM
                                                      )
 CITY OF JOHNSON CITY, et al.,                        )
                                                      )
                 Defendants.                          )

                                      MEMORANDUM AND ORDER

        This case is before the Court pursuant to 28 U.S.C. § 636, the Rules of this Court, and

 Standing Order 13-02.

        Now before the Court is the Motion to Strike and for Sanctions [Doc. 338], filed by Justin

 Jenkins (“Mr. Jenkins”). Plaintiffs filed a response in opposition to the motion [Doc. 364], and

 Mr. Jenkins filed a reply [Doc. 375]. The motion is ripe for adjudication. See E.D. Tenn.

 L.R. 7.1(a). For the reasons stated below, the Court DENIES the motion [Doc. 338].

I.     BACKGROUND

       Mr. Jenkins, an officer with the Johnson City Police Department (“JCPD”), was a defendant

in this case until United States Chief District Judge Travis A. McDonough granted his motion to

dismiss on August 21, 2024 [Doc. 301]. On September 3, 2024, another former defendant, Kevin

Peters (“Mr. Peters”), filed a Motion to Quash and for Protective Order Regarding Plaintiffs’ Post-

Dismissal Subpoena Seeking His Post-Retirement, Personal Cell-Phone Records [Doc. 310]. In

response to why they seek Mr. Peters’s cell phone records, Plaintiffs argue that they have alleged

“coordination among JCPD officers to intentionally and knowingly interfere with and obstruct

investigations into Sean Williams” [Doc. 330 p. 1]. They state that “[t]he phone records targeted by




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the subject subpoena bear on these allegations because they may reveal cellular phone activity

between Kevin Peters and other JCPD officers that would provide the opportunity for such

coordination” [Id.]. Plaintiffs claim:

               Evidence adduced following the filing of the [Second Amended
               Complaint], however, shows that payments to JCPD officers
               continued until at least June 2022. See, e.g., ECF 192, at
               RENASANT000018 (showing cash withdrawal of $11,800 on June 1,
               2022); Exh. 4, Eastman Credit Union Records at Eastman 000478
               (showing auto loan originated on June 2, 2022, with total financing
               payments of [redacted]).

 [Id. at 3]. Plaintiffs conclude that “there is now evidence of a payment from [Sean Williams’s

business account by Female 4] to JCPD officer Justin Jenkins on June 1–2, 2022” [Id. at 5].

       Mr. Jenkins seeks “to strike all unfounded allegations Plaintiffs have made that there is

evidence that he received money from [Female 4], on behalf of Sean Williams or otherwise” under

the Court’s inherent authority [Doc. 338 p. 1]. He states that “Plaintiffs have not provided a scintilla

of evidence to support their allegations and have failed to include evidence in their possession which

directly refutes their allegations” [Id. at 1–2]. Mr. Jenkins argues, “It is unclear, and Plaintiffs do

not further elucidate, how the two [Female 4] withdrawals that collectively total $11,800 are

somehow connected with [him] taking out an $11,000 loan (not the paying off on a loan or some

other ‘credit’ to [Mr.] Jenkins) to purchase a 2006 Toyota Tundra” [Id. at 2]. According to

Mr. Jenkins, “Plaintiffs[] believe because these unconnected transactions occurred during the same

period and involved a similar amount of money, [Female 4] must have withdrawn the funds to pay

[him,]” but [s]uch a leap in logic is, in and of itself, entirely specious and unfounded” [Id.]. “This

leap,” Mr. Jenkins asserts, “is even more concerning in this matter as there is documentation to

show that [he] did, in fact, take out a loan on or about June 2, 2022, to purchase a 2007 Toyota

Tundra, which was ultimately paid off, not by funds from [Female 4] or Sean Williams, but when

he traded that truck in on another vehicle” [Id. (citation omitted)]. Mr. Jenkins states that Plaintiffs
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have this documentation, but “chose to cherry-pick which documents to present to the Court”

[Id. at 3–4 (footnote omitted)]. He also seeks “sanctions in the form of attorney fees for [his counsel]

having to rebut Plaintiffs’ grossly misleading and unsupported characterizations” [Id. at 1].

       Plaintiffs respond that Mr. Jenkins’s request should be denied because he has not shown that

their “filing is . . . ‘false and defamatory’” [Doc. 364 p. 1 (citation omitted)]. They state, “The claim

that there is evidence indicating a Sean Williams’[s] affiliate made a payment to [Mr.] Jenkins finds

ample support in the record” [Id. at 2]. They list eight “factual basis,” which they contend “supports

the argument that JCPD officers, including [Mr.] Jenkins, conspired with Female 4 to drain [Sean]

Williams’[s] bank accounts” [Id. at 3]. “Moreover,” Plaintiffs state, “the evidence supports the

conclusion that [Mr.] Jenkins received $11,800 in cash from Female 4 on or about June 1, 2022”

[Id.]. Plaintiffs assert that “[t]hese are relevant facts that go to the ultimate issues in the case and

the conclusions they suggest should not been stricken” [Id. (citation omitted)]. And according to

Plaintiffs, Mr. Jenkins has not shown that their “statement is objectively false” [Id. at 4]. But if the

Court finds otherwise, Plaintiffs state that his request for sanctions should be denied because he did

not meet and confer with them before filing his motion [Id.]. “Given the fact that the statement at

issue is not, taken in isolation, a conclusive point in the filing where it was made[,]” Plaintiffs

contend that “this [m]otion may well have been avoided had counsel undertaken such efforts” [Id.].

“Regardless,” Plaintiffs submit, “the statement in [their] filing was made based on a reasonable

interpretation of the facts and would not warrant an award of sanctions” [Id.].

       Mr. Jenkins filed a reply, stating that Plaintiffs’ statement about him “was direct and

unequivocal” and “objectively false” [Doc. 375 p. 1]. He argues that Plaintiffs’ response to his

motion “merely restate[s] their specious and tenuous argument” [Id.]. According to Mr. Jenkins,

“[G]iving the Plaintiffs the benefit of the doubt, their theory is, at best, a product of confirmation

bias, i.e., they want to believe there is a conspiracy so everything they look at is seen through that
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lens” [Id. at 1–2]. “At worse,” Mr. Jenkins argues, “Plaintiffs are intentionally providing

misinformation in an attempt to support their theory” [Id.]. He asserts that “Plaintiffs did not make

a statement that there may have been a connection between Female 4’s withdrawal and [his]

obtaining a loan, or that such could be related” [Id. (emphasis omitted)]. “Instead,” [Mr.] Jenkins

submits, “Plaintiffs unequivocally stated ‘that there is now evidence of a payment from that account

to JCPD officer Justin Jenkins’” [Id. (citation omitted)]. And while Plaintiffs state that he should

have meet and conferred with them, Mr. Jenkins asserts that this exercise would have been futile

given that they appear to “stand by the allegations” [Id. at 3].

II.    ANALYSIS

       “The Court may strike improvident filings based on its inherent authority to manage its

docket.” Hlfip Holding, Inc. v. Rutherford Cnty., No. 3:19-CV-00714, 2020 WL 6484254, at *2

(M.D. Tenn. Sept. 13, 2020) (citation omitted). Such authority allows courts “to strike any filed

paper which it determines to be abusive or otherwise improper under the circumstances.”

Id. (citation omitted); see also United States v. SouthEast Eye Specialists, PLLC,

570 F. Supp. 3d 561, 571 (M.D. Tenn. 2021) (“[T]he Court has inherent power to strike

impermissible matter apart from Rule 12(f) and this ‘authority includes the ability to fashion an

appropriate sanction for conduct which abuses the judicial process.’” (quoting Royce v. Michael R.

Needle P.C., 950 F.3d 939, 953 (7th Cir. 2020))). The movant bears the burden of showing that the

material should be stricken. SouthEast Eye Specialists, PLLC, 570 F. Supp. 3d at 571.

       “[M]otions to strike are generally disfavored and should be granted only when the material

at issue has no possible relation to the controversy.” Hlfip Holding, Inc., 2020 WL 6484254, at *2

(citation omitted). Mr. Jenkins has not shown that the material sought to be stricken has no possible

relation to the controversy. Plaintiffs claim that Mr. Jenkins and Mr. Peters accepted payments from

Sean Williams, and they assert that loans were used to launder money. They allege in their operative
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pleading that the “misconduct by JCPD began in at least 2018 and continued to at least 2021”

[Doc. 330 p. 3 (citation omitted)]. Plaintiffs contend that Mr. Jenkins’s financial records show that

JCPD’s alleged obstruction of the Sean Williams’s investigation may have continued beyond 2021

[Id. (citation omitted)]. This evidence, they argue, supports their request for Mr. Peters’s cell phone

records “to 12 specific dates or date ranges from June 2020 to March 2024” [Id. at 1; see also

id. at 5 (“Accordingly, call logs for [Mr.] Peters during that time may show his communication with

JCPD officers which would be relevant to proving how the conspiracy was accomplished and

coordinated.”)].

       Although Mr. Jenkins’s financial records may not be direct evidence of accepting a payment

from Sean William, Hoffman v. Sebro Plastics, Inc., 108 F. Supp. 2d 757, 771 (E.D. Mich. 2000)

(explaining that “‘direct evidence’ is evidence which requires no inferences”), the information does

relate to Plaintiffs’ allegations about accepting payments, and Plaintiffs are relying upon the

information related to Mr. Jenkins in support of their request for Mr. Peter’s cell phone records

[See Doc. 330]. The Court therefore declines to grant the motion to strike.

III.   CONCLUSION

       For the reasons stated above, the Court DENIES Mr. Jenkins’s Motion to Strike and for

Sanctions [Doc. 338].

       IT IS SO ORDERED.

                                                       ENTER:

                                                       __________________________
                                                       Jill E. McCook
                                                       United States Magistrate Judge




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